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                                                                                                March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED
                                                                              BY TELECONFERENCE
                             -v-
                                                                              20   -CR-   538   (
                                                                                                    AT
                                                                                                         )(   )
Jian Li                            ,
                                       Defendant(s).
-----------------------------------------------------------------X

            Jian Li
Defendant ______________________________________           hereby voluntarily consents
to participate in the following proceeding via teleconferencing:

___       Initial Appearance/Appointment of Counsel
 x
___       Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
          Indictment Form)

___       Preliminary Hearing on Felony Complaint

___       Bail/Revocation/Detention Hearing

___       Status and/or Scheduling Conference

___       Misdemeanor Plea/Trial/Sentence



_______________________________                                      _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
 Jian Li
_____________________________                                        Annalisa Miron
                                                                     _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable teleconferencing technology.


 11/2/2020
___________________                                                  _________________________________
Date                                                                 U.S. Magistrate Judge
